                            Case 1:14-cv-00929-ABJ Document 1-1 Filed 05/30/14 Page 1 of 2
                                                 CIVIL COVER SHEET
JS-44
Rev.l/05 OC)
     15~~~~~!~!!~~~ --------------------------------, ~~-~~~~~~I§                                                  __________________________________ _
 :sina Chenari
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                                                                                        ,' :George Washington University
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                                                    COUNTY OF RI'SIDENCE OF FIRST LISTED DEFENDANT
                                                                                                   -·                                                                                 I



                                                                      Fairfax                                      (IN l. . PLAI fTIFFCASESOI\ LY)
     (b)COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF                                            'OTE. IN LAND CONDEMNATION CASES, USE TilE I OC'ATION OF TilE TRACT OF
             (EXCEPT I N U.S. PLAII\1 1f'F CASES)                                               LAND JNVOL VI D
      (<)ATTORNEYS (FIRM NAME. ADDRESS, AND TELEPIIO E NUMBER)                                  ATTORNEYS (IF KNOWN)
:Rei:vaili Volin & R"otheri 'P.c.-------------- ----- -: :--------------------------- -------------------;
                                                                                    1       1                                                                                t        I

:1050 Connecticut Ave., 10th Floor                                                  : :                                                                                               :
:Washington, DC 20036                                                               : :                                                                                               :
:(202) 350-4370                                                                     : :                                                                                               :
·----------------- ------- ---- ------------------ ----------------------------------------------·
     II. BASIS OF JURI DICTION                                          Ill C ITIZENSIIIP OF PRINCIPAL PARTIE (PLACE AN x IN ONE BOX
          (PLACE AN x IN ONE BOX ONLY)                                  FOR PLAINTIFF AND ONE BOX FOR DEFI:NDANT) FOR DIVERSITY CASES ONLY!

                                                                                                        IYfF       OFT                                          PTF         OFT
     0      I U. Government        0    3 Fedcral Quesuon
            Plaontlff                     (U.S Go•emment ot a Pany)
                                                                        Cntzen of thts Slate            0      I   0     I   Incorporated or Pronctpal Place    0     4     0     4
                                                                                                                             of Busoness on Thos State
     0      2 U.S Government
            Defendant
                                   0    4 Dtversity
                                          (lndtcate Ctuzenshtp of       Cttlzen of Another State        0      2   0     2   Incorporated and Principal Place   0     5     0     5
                                          Pantes on nem Ill)                                                                 of Busoness m Another State
                                                                        Cntzen or SubJect of a          0      3   0     3
                                                                        Foretgn Country                                      Foretgn Nalton                     0       6   0     6


                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (_Place a X in one cateeory, A-N that best rCQresents_your cau:;e of action and one in a correspondine Nature of Suit)

     0 A. Antitrust            0       B. Personal Injury/                   0 C. Administrative Agency                              0 D. Temporary Restraining
                                        Malpractice                                  Review                                               Order/Preliminary
                                                                                                                                          /ujtmctiou
                                                                             0     lSI Medicare Act
     D      410 Antitrust      D   310 irplane
                                                                             Soria! Stcuritv:
                                                                                                                                     Any nature of sui I from any category may
                               0   315 Airplane Product Liability                                                                    be selected for thi category of case
                               0
                               D
                               D
                                   320 Assault, Libel & lander
                                   330 Federal Employers Liability
                                   340 Marine
                                                                             8
                                                                             0
                                                                                  861 HIA ((139Sfl)
                                                                                  862 Black Lung (923)
                                                                                  863 OIWC/DIWW (40S(g)
                                                                                                                                     assignment.

                                                                                                                                     •(If Antitrust, Ihen A governs)•
                               D   345 Marine Product Liability
                                                                             0 864 10 Title XVI
                                                                             0    865 R I (40S(g)
                               D   350 Motor Vehicle
                                                                              Other Statutes
                               0   3SS Motor Vehicle l' roduct Liabilily
                                                                             0    891 Agricultural Acts
                               0   360 Olher Personal Inju ry
                               D   362 Medical Malpractice
                                                                             D 892 Economic tabiliulion Act
                                                                             0    893 Environmental Mailers
                               D   365 Product Liability
                                                                             0    894 Energy Allocation Act
                               0   368 Asbestos Product Liability
                                                                             D 890 Other talutory Actions (If
                                                                                       Administrath e Agency is Involved)

      0      E. General Civil (Other)                          OR                    0           F. ProSe General Civil
 Real Property                                     Bankruplcv                                      Forfeiture/Penalty
0 210 Land Condemnation                           0   422 Appeal28    ISS                         0   6 10 Agriculture                 0    470 Racketeer I nnuenced &
0 220 Foreclosure                                 0   423 Withdnwa128 U C 157                     D 620 Other Food &Drug                         Corrupt Organi:tlllion
0 230 Rent, Lu e & Ejectmenl                                                                      0   625 Orug Related Seizure        0     480 Consumer Credit
0 240 Torts to Land                                Pri~oner Petition~                                      of Properly 2 I C 881      0     490 Cable a tellite TV
0 245 Tort Product Liability                      0    535   Death Penalty                        0   630 Liquor Laws                 0     810 eleclive ervice
0 290 All Olher Real Property                     0    540   Mandamus & Other                     0   640 RR & Truck                  0     850 Securities/Commodities/
                                                  0    550   Civil Rights                         0   650 Airline Regs                            Exchange
     Personal Property                            0    555   Prison Condition                     0   660 Occupalional                0     875 Cuslomer Challenge 12 ll
0       370 Other Fraud                                                                                      afelyflleallh                        34 10
0       371 Truth in Lending                       Propertv Righu                                 0   690 Other                       0     900 Appeal of fee determinalion
0       380 Other Personal Property Damage        0   820 Copyrighls                                                                              under equal access to Justice
0       385 Property Damage Product Liability     0   830 Palent                                                                       0    950 Constilulionalily of tate
                                                  0   840 Trademark                                Olher Statutes                                  tatules


                                                  0
                                                   Federal Tax Suits
                                                      870 Taus (l S plainliff or
                                                                                                  B
                                                                                                  0
                                                                                                      400 Sta te Rea pportionment
                                                                                                      430 Banks & Ba nking
                                                                                                      450 Commerce/ICC
                                                                                                                                      0     890 Other Ia tutory Aclions (if
                                                                                                                                                  not administrative agency
                                                                                                                                              review or Privacy Act
                                                           defendant                                       Rates/etc.
                                                  0   87 1 IR T hird Party 26                     0   460 Deportation
                                                           usc 7609
                           Case 1:14-cv-00929-ABJ Document 1-1 Filed 05/30/14 Page 2 of 2

  0 G. Habeas Corpus!                       0        H. Employment                          0         I. FOIAIPRIVACY                    0        J. Student Loan
       2255                                              Discrimination                                 ACT
                                                                                                                                          D     152 Recovery of Default ed
   D    530 llabeas Corpus-General           D       442 Civil Rights-Employment             D       895 Freedom of Information Act                     tudenl Loans
   D    510 MotionN acate entence                       (criteria: race, gender/su,          0       890 Other Ia tutory Actions                      (excluding veterans)
                                                        national origin,                                 (if Privacy Act)
                                                        discrimination, disability
                                                        age, religion, retaliation)

                                            *( If prose, select this deck)•                 *( If prose, select this deck)•

  0     K. Labor/ERISA                           0       L. Other Civil Rights                   0          M. Contract                       0 N. Three-Judge Court
           (non-employment)                              (non-employment)                                                                     D
                                                                                                 D        tiO Insurance                               441 Civil Rij:hts-Voting
                                                                                                 D        120 Ma rine                                     (if Voting Rij:hts Act)
  D     710 Fair Labor tandards Act              D      441 Voting (If not Voti ng Rights        D        130 MillerAct
  D     720 Labor/Mgmt. Relations                           Act)                                 D        140 \ egotiable Instrument
  D
   D
        730 Labor/Mgmt. Reporting &
             Disclosure Act                      B
                                                 D
                                                        443 llousing/Acconunodations
                                                        444 Welfare
                                                                                                 D   ISO Recovery of Overpayment &
                                                                                                      Enforceme nt of Judgment
        740 Labor Railway Act                           440 Other Civil Rights                   D 153 Recovery of Overpayment of
   D    790 Other Labor Litigation               D      445 American w/01 abilities-                 Veteran's Benefits
   D    79 1 Empl. Ret. Inc. ec urity Act                   Employment                           D 160 Stockholder's uits
                                                 D      446 Americans w/Oi abilities-            [i] 190 Other Contracts
                                                           Other                                 D 195 Contract Product Liability
                                                                                                 D 196 Franc hise
V. ORIGIN
   0    I Origi nal    0    2 Removed        0   3 Remanded from              0   4 Rein t1ted        0    5 T ransferred from     0   6 Multi district     0   7 Appeal to
          Proceeding          from tate            Appellate Court                 or Reopened               another district            Litigation               Oi trice Judge
                              Court                                                                          (SJJecify)                                           from Mag. Judge




VII. REQUESTED IN                             CII ECK IF THIS I A LA                              DEMAND $ ~ :: :~~.QQQ! ::: ! Check Yk~fdemanded m complamt
    COMPLAI NT                      D         ACT'ION UNDER F R c p 23                                J   y DEMAN D:               YES L.X..J 0                          D
VIII. RELATED CA E(S)                       (See mstrucuon)                       YE   D
      I F ANY

DATE      May 30, 2014                      IG ATl RE OF ATTOR 'EY OF RECORD


                                                        TRUCT'IOI\S FOR COMPLETI G CIVIL COVER
                                                                     Authonty for C1v1l Cover Sheet

           The J S-44 c1v1l cover sheet and the mformauon con tamed herem neither replaces nor supplements the filings and scrv1ce of pleadmgs or other papers as rcqutred by
law, except as provided by local rules of coun Th1s form, approved by the Jud1ctal Conference of the United tates m September 1974, IS requtred for the usc of the Cieri. of
Coun for the purpose of m1Uatmg the c1v1l docket sheet Consequently a c1v1l cover sheet IS submitted to the Clerk of Coun for each c1vtl complamt filed L1sted below arc ups
for completmg the c1v1l cover sheet These ups comc1de w1th the Roman umerals on the Cover Sheet

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTII'F/DfFE DA T (b) County ofres1dence Usc 11001 to md1cate plamuff1s rcs1dent of
                      Washmgton, DC., 88888 1fplamuff1s res1dent of the Umtcd States but not ofWashmgton, DC., and 99999 1fplamuff1s outside the Umtcd States.

           Ill.       CITIZE SIIIP OF PRI CIPAL PARTI[S Th1s sccuon IS completed Q!!]y 1f diversity of c1Uzcnsh1p was selected as the Oasis of Junsd1ct1on under Secuon
                      II

           IV.        CA E ASSIGNME T AND NATURE 01' SUIT The ass1gnment of a Judge to your case w1ll depend on the category you select that best represents the
                      primary cause of acuon found 111 your complamt You may select only .Q!J£ category You~ also select .Q!J£ correspondmg nature of SUit found under
                      the category of case

           VI.        CAUSE OF ACTIO         C1te the US C1v1l Statute under ""h1ch you are fihng and wnte a bnefstat~ment of the pnmary cause

           VIII.      RELATED CASES, IF ANY If you md1cated that there IS a related case, you must complete a related case form, \•h1ch may be obtamed from the Clerk's
                      Office

           Because of the need for accurate and complete mformauon, you should ensure the accuracy of the mformauon prov1ded pnor to s1gntng the form
